                                                                                   FILED
                                                                                JUL O9 2021
                           . UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF NORTH CAROLINA                   us DI
                                                                              PfTER~E   JR., Cl.ERi<
                                                                                     coLiRt, EDNC
                                                                             BY             DEPCLk
                                    SOUTHERN DIVISION

                                 N0.1 :2H£.-6111- IM
                                 NO.    :21..-(J2-Blt,-2M

     UNITED STATES OF AMERICA                     )
                                                  )
                   V.                             )     CRIMINAL INFORMATION
                                                  )
    TIMOTHY BELCHER                               )
    GEORGINA BELCHER                              )


            The United States charges that:

            On or about May 1, 2020, in the Eastern District of North Carolina and

    elsewhere, the defendants, TIMOTHY BELCHER and GEORGINA BELCHER, did                      ,

    knowin~ly and in reckless disre~ard of the fact that an alien, had come to, entered,

     and remained in the United States in violation oflaw, did knowingly transport, move,
                                                  '
    and attempt to transport and move said alien within the United States in furtherance

    of such violation of law, in violation of Title 8, United States Code, Section

     1324(a)(l)(A)(ii).




    G. NORMAN ACKER, III
    Acting United States Attorney


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~BY: GABRIEL J. DIAZ
  Assistant United States Attorney




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